                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
F. #2016R00467                                      271 Cadman Plaza East
                                                    Brooklyn, New York 11201



                                                    February 11, 2022

By ECF

The Honorable Margo K. Brodie
Chief United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Ng Chong Hwa
                      Criminal Docket No. 18-538 (S-2) (MKB)

Dear Chief Judge Brodie:

               The government respectfully submits this letter in response to the defendant’s
February 11, 2022 letter, see ECF No. 135 (the “Ng Letter”), which attached two Federal Bureau
of Investigation (“FBI”) FD-1057 reports that the government produced to the defendant on
February 10, 2022, in accordance with Federal Rule of Criminal Procedure 16, see ECF
Nos. 135-1, 135-2 (the “Reports”). The Ng Letter contains numerous factual and legal
inaccuracies, and its characterization of both the Reports themselves and the government’s
production of them is incorrect. Throughout this prosecution, the government has steadfastly
abided by its Brady and Rule 16 obligations, and its production of the Reports was no exception.

               As an initial matter, the defendant’s description of the relevant background is
incomplete and misleading. On June 24, 2019, defense counsel first informed the government
that the defendant maintained that the $35 million in criminal proceeds sent to the Silken
Waters / Victoria Square Account was from legitimate business transactions. Since then, the
government has continued to look for, and has not found, any evidence substantiating that claim.

                On April 10, 2020, the government disclosed to the defense a set of consensually
recorded calls, including an October 16, 2018 recording in which the defendant’s wife, Hwee
Bin Lim, recounted that she had told Malaysian law enforcement that the $35 million in transfers
to the Silken Waters / Victoria Square Account related to Chinese investments. Beginning in
October 2020, the defense claimed in its filings that the transfers into the Silken Waters /
Victoria Square Account were a repayment of a debt owed to relatives of the defendant’s wife,
see ECF No. 43 at 115, and the defense has reiterated this claim since, see, e.g., ECF No. 122-1
¶ 17.
               Following its initial production of the October 16, 2018 recording in April 2020,
the government re-produced it to the defense on November 10, 2021 and November 12, 2021.
On February 4, 2022, defense counsel reviewed, apparently for the first time, the October 16,
2018 recording. See ECF No. 132 at 3. As noted above, the defense had claimed for years
before listening to the October 16, 2018 recording that the transfers into the Silken Waters /
Victoria Square Account were in connection with legitimate business transactions.

                Mindful of its continuing disclosure obligations, prior to trial, the government
began a manual review of reports and documents obtained from the FBI in order to identify any
additional potentially discoverable information, including material potentially discoverable
pursuant to 18 U.S.C. § 3500 for testifying witnesses, contained in the FBI’s files. As part of
that review, the government requested and obtained more than 8,000 files in both hard copy and
electronic form. On February 10, 2022, as the undersigned prosecutors worked to complete that
review, the prosecutors identified the Reports for the first time. The Reports had been drafted
and filed by an FBI special agent who was based in Malaysia and had assisted with the
then-impending arrest of the defendant on the charges in the indictment, and who is not a
member of the prosecution team. The Reports documented statements made by the defendant
and Lim to a Malaysian law enforcement officer (“Malaysian Law Enforcement Officer #1”),
who then voluntarily disclosed those statements to the FBI.

            The first Report documented the following information disclosed by Malaysian
Law Enforcement Officer #1 to the FBI on October 24, 2018:

              The defendant and “and [his] wife willingly came together to meet [Malaysian
               Law Enforcement Officer #1] at the CCID headquarters building in Kuala
               Lumpur, Malaysia.”

              Malaysian Law Enforcement Officer #1 believed that “Ng knows U.S. authorities
               are interested in his involvement in the 1MDB investigation and Ng suspects that
               [a cooperating witness (“CW-1”)]1 is also speaking to U.S. authorities. Ng feels
               confident; however, that he is safe from being charged in Malaysia.”

              “Ng’s wife told [Malaysian Law Enforcement Officer #1] that the monies going
               to her and her mother’s accounts in Singapore were coordinated with [CW-1’s
               ex-wife] and were proceeds/earnings from investments.”

The information contained in the first Report—in particular, Lim’s explanation of “the monies
going to her and her mother’s accounts in Singapore”—echoed the defendant’s alleged
explanation for the funds first conveyed by defense counsel to the government in June 2019, and
which the defendant has made in public filings since October 2020.




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              The identities of the witness and the witness’s ex-wife are set forth in the Reports,
which were provided by the defense to the Court under seal.



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            The second Report documented the following information disclosed by Malaysian
Law Enforcement Officer #1 to the FBI on October 26, 2018:

               [Malaysian Law Enforcement Officer #1] met with Roger Ng on
               the evening of 10/25/2018 at the CCID headquarters building in
               Kuala Lumpur, Malaysia. [Malaysian Law Enforcement
               Officer #1] suggested to Ng that he may wish to consider
               voluntarily travelling to the U.S. to settle whatever of his “affairs”
               that may be looming. Ng’s response was that he was a Malaysian
               citizen and if the U.S. would want to seek his co-operation in the
               U.S. investigation, the U.S would have to request it through the
               officials [sic] channels of the Malaysian government.

                Because the Reports memorialized the defendant’s statements to foreign law
enforcement, the government produced them to the defense the same day it found them,
redacting the information unrelated to the statements of the defendant or his wife.

                The defendant now describes these Reports as “core Brady material.” Ng Letter
at 1. This statement is wrong. “Under Brady and its progeny, ‘the Government has a
constitutional duty to disclose favorable evidence to the accused where such evidence is
“material” either to guilt or to punishment.’” United States v. Certified Environmental Servs.,
Inc., 753 F.3d 72, 91 (2d Cir. 2014) (quoting United States v. Coppa, 267 F.3d 132, 139 (2d Cir.
2001)). The Second Circuit has made clear, however, that “no Brady violation occurs if the
defendant knew or should have known the essential facts permitting him to take advantage of
any exculpatory evidence.” United States v. Gaggi, 811 F.2d 47, 59 (2d Cir. 1987).
“Accordingly, the government ha[s] a duty to disclose only information which had been known
to the prosecution but unknown to the defense.” United States v. Grossman 843 F.2d 78, 85 (2d
Cir. 1988) (internal quotation marks omitted). “If the defendant knows the[] ‘essential facts,’ the
Government need not inform the defendant of the witness’ exculpatory statements.” Rigas v.
United States, 2020 WL 2521530, at *7 (S.D.N.Y. May 15, 2020) (citing Williams v. United
States, 503 F.2d 995, 998 (2d Cir. 1974)). Here, the defendant knew the statements and
information contained in the Reports, which consist of statements that he made to Malaysian law
enforcement himself and statements that his wife made to Malaysian law enforcement in his
presence. The defendant previously identified Lim as a potential defense witness, see ECF
No. 122, so the defense has access to her for this information as well. Thus, even if the
government had been aware of the Reports before yesterday (which it was not), under Second
Circuit law, they are plainly not Brady material.

                 The defendant also argues that the government should be required “to provide the
defense with the unredacted statements immediately.” Ng Letter at 1. This argument should be
rejected. It is undisputed that Rule 16 requires the disclosure of the defendant’s statements—
which is why, as described above, the government produced the Reports to the defense with such
content unredacted. However, Rule 16 is clear that, with the exception of the defendant’s
statements (and other exceptions that do not apply here), it “does not authorize the discovery or
inspection of reports, memoranda, or other internal government documents made by an attorney
for the government or other government agent in connection with investigating or prosecuting
the case.” Fed. R. Crim. P. 16(a)(2). The redacted portions of the Reports—which consist of


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               For the reasons set forth above, the defendant’s request for unredacted versions of
the Reports should be denied. The government also reaffirms that it fully understands its Brady
and Rule 16 obligations and has complied and will continue to comply with them.

                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney

                                             By:     s/
                                                     Alixandra E. Smith
                                                     Drew G. Rolle
                                                     Dylan A. Stern
                                                     Assistant U.S. Attorneys

DEBORAH L. CONNOR                                    JOSEPH BEEMSTERBOER
Chief, Money Laundering and Asset                    Acting Chief, Fraud Section
Recovery Section, Criminal Division                  Criminal Division
U.S. Department of Justice                           U.S. Department of Justice

s/                                                   s/
Jennifer E. Ambuehl                                  Brent Wible
Trial Attorney                                       Trial Attorney

cc:    Counsel for the defendant (via ECF and email)




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